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  1                                                                           The Honorable Tana Lin
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  8                              UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
  9                                       AT SEATTLE
 10   BUNGIE, INC.,
 11                         Plaintiff,                    Case No. 2:21-cv-01112-TL
 12          v.                                           JOINT STATUS REPORT AND
                                                          DISCOVERY PLAN
 13   ELITE BOSS TECH INCORPORATED,
      11020781 CANADA INC., DANIEL
 14   FAGERBERG LARSEN, JOHN DOE NO. 1
      A/K/A “SLYTIGER” A/K/A ARTHUR S.
 15   ADERHOLT, JOHN DOE NO. 2 A/K/A
      “BADGER,” JOHN DOE NO. 3 A/K/A
 16   “LUZYPHER,” JOHN DOE NO. 4 A/K/A
      “GOODMAN,” JOHN DOE NO. 5 A/K/A
 17   “YIMOSECAI,” JOHN DOE NO. 6 A/K/A
      “RIDDELL,” JOHN DOE NO. 7 A/K/A
 18   “PISKUBI93,” AND JOHN DOES NO. 8-20,
 19                         Defendants.
 20
         1. The Nature and Complexity of the Case
 21
             This is a complex case involving parties and third parties in the United States, Canada,
 22
      Europe, and China, and involving a wide variety of different technologies, hardware, software,
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      source code and hacking methodologies that the parties anticipate will require significant expert
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      testimony.
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  1               a. Bungie’s Statement of the Factual and Legal Bases of the Claims
  2            Plaintiff filed this action seeking damages, a permanent injunction and other equitable
  3   relief, alleging that Defendants infringed upon their intellectual property rights, breached the
  4   Limited Software Licensing Agreement (“LSLA”) to which they lawfully agreed, intentionally
  5   interfered with their contractual relationships with their customers, conspired with others to
  6   commit various tortious acts, violated 18 U.S.C. § 1962(a), (b), & (c) (“RICO”), 17 U.S.C. §
  7   1201(a) (“Circumvention of Technological Measures”), 18 U.S.C. § 1030(a)(5)(B) (“The
  8   Computer Fraud and Abuse Act”), and RCW 19.86.020 (“Washington Consumer Protection
  9   Act”).
 10            The Plaintiff, Bungie, Inc., is the independent developer, owner, intellectual property
 11   rights holder and distributor of the video game Destiny 2, a shared-world online first-person
 12   shooter that can be played alone, with players testing themselves against the game itself, or
 13   against other players in various multiplayer modes. Destiny 2 is free-to-play, with any
 14   prospective player able to download the base game for free on any number of platforms, such as
 15   PC, XBOX Series 1, and the Playstation 5. Plaintiff earns revenue from their game through the
 16   sale of in-game currency, used to purchase in-game items and collectibles, seasonal passes to
 17   grant access to additional rewards, and expansions, which provide extensive amounts of new
 18   content added on to the base game.
 19            Defendants own, operate, and market several commercial websites that sell access
 20   software that hacks, infringes upon, and alters Plaintiff’s video game, Destiny 2, allowing
 21   customers to cheat in the game space. Because of the online nature of Desitny 2, these cheats not
 22   only effect the play experience of the cheating player, but all other players they play against or
 23   alongside. Both the manufacture and use of this cheating software is a violation of the LSLA that
 24   all players of Destiny 2, from the Defendants to their cheat developers to their customers, must
 25   agree to in order to play the game.
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  1           Destiny 2’s commercial viability depends on the integrity of its gameplay and the
  2   positive experiences of its players. Defendants’ cheats threaten the Destiny 2 experience, which
  3   costs Plaintiff customers, causes harm to its reputation, and costs it exorbitant amounts of money
  4   in the development of anti-cheating mitigation technology. Defendants are fully aware their
  5   conduct is tortious and illegal. They have gone to great lengths to hide their identities and
  6   operate anonymously, including the use of false identities, fake addresses, and corporate services
  7   that specialize in the registration of websites anonymously. Defendants’ Wallhax website
  8   includes “terms of use” that purport to require users to pay “$30,000 per day” for accessing the
  9   website if they are employees or agents of a number of game development studios. While these
 10   listed game development studios do not count Bungie among their number, Defendants have
 11   taken several targeted steps to attempt to evade Plaintiff’s notice following other suits Plaintiff
 12   has filed against other cheat developers, such as deleting any mention on their website of Destiny
 13   2 and adding the word “Destiny” to their website’s profanity filter.
 14            Based on the facts outlined above and others as alleged in the Complaint, Plaintiff pled
 15   eight causes of action: copyright infringement, civil RICO, DMCA anti-circumvention, violation
 16   of the Computer Fraud and Abuse Act, breach of contract, tortious interference with contract,
 17   civil conspiracy, and violation of the Washington Consumer Protection Act.
 18                b. Defendants’1 Statement of the Factual and Legal Bases of the Defenses.
 19           The Defendants Elite Boss Tech, Inc. (“Elite Boss”), Robert Nelson (“Nelson”), and
 20   11020781 Canada, Inc. (“110 Canada”) (collectively, “Elite Defendants”) acknowledge that the
 21   Plaintiff, Bungie, Inc. is the developer and distributor of the video game Destiny 2. The Elite
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       Only Defendants Robert James Duthie Nelson, Elite Boss Tech, Incorporated, and 11020781 Canada, Inc. have
      appeared to date. Defendant Daniel Fagerberg Larsen has been served but has not appeared, and Plaintiff anticipates
 25   seeking entry of a default as to him. Plaintiff also now understands that “Slytiger” and “Arthur S. Aderholt” are
      names used by Mr. Nelson, and therefore that John Doe No. 1 is not a distinct individual. The other Doe defendants
 26   have not




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  1   Defendants also acknowledge that Bungie owns certain intellectual property rights pertaining to
  2   Destiny 2 and requires customers who play Destiny 2 to agree to the LSLA.
  3              Elite Boss is a software development company. Nelson is its sole owner. In 2020, Elite
  4   Boss solely developed, and began distributing a software program that individuals can use to
  5   interact with Destiny 2 (“Elite Software”). The Elite Software assists a player with in-game
  6   tasks in Destiny 2 such as advancing levels or completing repetitive events. Nelson’s
  7   involvement is strictly limited to his capacity as the owner of Elite Boss and does not act in any
  8   way in his individual capacity regarding anything Elite Boss does as a company.
  9              Claims against Nelson: The Elite Defendants have several defenses to Bungie’s claims.
 10   First, under Canadian law Elite Boss, 110 Canada, and Nelson are not alter-egos. Nelson is
 11   merely an owner of Elite Boss and 110 Canada. The entities maintain separate identities under
 12   the law and they comply with all corporate formalities under Canadian law. Elite Boss is the
 13   sole entity responsible for making and selling its Elite Software. Therefore, Bungie fails to state
 14   claims against Nelson upon which relief can be granted. As to the merits of Bungie’s claims
 15   against the Elite Defendants, they are as follows:
 16              Copyright Infringement: Proof of copyright infringement requires that the Elite
 17   Defendants directly made, contributed to making, or vicariously made unauthorized copies of
 18   Desitiny 2.2 Under no circumstances during the development of the Elite Software have the Elite
 19   Defendants made or distributed any copies of, nor has it made any derivative works of the
 20   Destiny 2 software. Although Elite Boss’s Elite Software interacts with Destiny 2, Elite Software
 21   makes no unauthorized copies of Destiny 2. In fact, the Elite Defendants contend that certain
 22   terms in Bungie’s LSLA are unenforceable, the Elite Defendants contest the very notion that
 23   creating a third-party software program that interacts with Destiny 2 creates a derivative work
 24   under the 17 U.S.C. 101 definition of a derivative work. To the extent that Elite Boss used any
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          Metro-Goldwyn-Mayer v. Grokster Ltd., 380 F.3d 1154, 1160; 1164 (9th Cir. 2004).




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  1   audiovisual elements in its marketing video, those elements meet the definition of fair use.
  2   Moreover, the use of a copy of Destiny 2 to create third-party software that Bungie objects does
  3   not constitute copyright infringement as the breach of a covenant in the LSLA does not create a
  4   copyright infringement either directly or indirectly. Thus, the Elite Defendants are not liable for
  5   copyright infringement.
  6              Civil RICO: Despite what Bungie alleges in its complaint, the mere creation and sale of
  7   software products that Bungie objects to that are sold to third parties and used with Bungie’s
  8   software does not meet even the broadest reading of what constitutes wire fraud, criminal
  9   copyright infringement, and money laundering, i.e. “racketeering activity” under 18 U.S.C. §
 10   1961(1) of the Civil RICO statutes.
 11              Digital Millennium Copyright Act: Violation of the DMCA, occurs when there is a causal
 12   connection between the circumvention of a security measure and an infringement of the
 13   defendants’ copyright. 17 U.S.C. § 1201.3 Although Elite Boss’s Elite Software can avoid
 14   detection, it does so solely for the purpose of interacting with Destiny 2 and not for making
 15   unauthorized copies of Bungie’s software. Furthermore, only someone who has purchased a
 16   legitimate license of Destiny 2 purchases Elite Boss’s Elite Software. Any restrictions in
 17   Bungie’s LSLA that prohibit circumvention of its detection measures for interoperability
 18   purposes constitute copyright misuse. And those restrictions are preempted by the
 19   interoperability exception in the DMCA.4 Additionally, Bungie’s detection mechanisms are not
 20   security measures that protect against unauthorized copying of Destiny 2. It is a program that
 21   detects third-party software that interacts with Destiny 2. Therefore, Bungie’s various misuses of
 22   their copyright is a defense to its claims against the Elite Defendants for violating the DMCA (17
 23   U.S.C. § 1201(a)) and infringing Bungie’s copyright either contributorily or vicariously through
 24   third parties.
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          Storage Tech. v. Cus. Hardwr Engin., 421 F.3d 1307, 1319 (Fed. Cir. 2005).
 26   4
          17 U.S.C. § 1201(f).




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  1           Computer Fraud and Abuse Act: Bungie’s claim for violation of the Computer Fraud and
  2   Abuse Act (§ 1030(a)(5)(B) fails. First, any computer that operates Destiny 2 as a client machine
  3   is not a protected computer that Bungie owns, and second, to the extent that any server computer
  4   that Bungie owns is a “protected computer” under the statute’s definition, none of the defendants
  5   access the server or cause damage to it.
  6           Breach of Contract: The Defendants maintain that despite Bungie’s terms in its LSLA to
  7   the contrary, Bungie’s claims that it can control any third party from developing software that
  8   interacts with its own software through its LSLA are meritless. And to the extent any liability
  9   exists for the Elite Defendants for breaching the LSLA, it would lie solely with the Elite Boss
 10   and not Nelson or 110 Canada.
 11           Tortious Interference with Contract: Bungie’s claims for tortious interference with third-
 12   party contracts requires that the Elite Defendants acted with improper means and motive, without
 13   economic justification, and that the Elite Defendants damaged Bungie. The Elite Defendants did
 14   not act with improper motive to cause any breach of the LSLA. Elite Boss’s only motive was to
 15   earn a profit by selling its Elite Software. Although the Elite Defendants were aware of the
 16   terms in Bungie’s agreements prohibiting interaction between Destiny 2 and third-party software,
 17   the Elite Defendants allege that these terms were overreaching and unenforceable due to
 18   copyright misuse. The unenforceability of the LSLA in addition to Elite Boss’s desire to earn
 19   profits without motive to interfere with Bungie’s contracts justifies Elite Boss’ actions.
 20           Washington Consumer Protection Act and Civil Conspiracy: As to Bungie’s claims for
 21   violating the Washington Consumer Protection Act and Civil Conspiracy, the Elite Defendants
 22   again refer the Court to the above-stated defenses. Specifically, Elite Boss has earned its profits
 23   through lawful development and sales of its Elite Software program.
 24      2. Alternative Dispute Resolution
 25      The parties agree to submit these matters to mediation pursuant to Local Rule CR
 26   39.1.



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  1      3. Timing of Alternative Dispute Resolution
  2      The parties agree to submit these matters to mediation between June 15th and August 31st,
  3   2022.
  4      4. Proposed Deadline for Joining Additional Parties
  5      The parties proposed deadline for joining additional parties is July 1st, 2022.
  6      5. Proposed Discovery Plan
  7              a. Fed. R. Civ. P. 26(f) Conference
  8           The Fed. R. Civ. P. 26(f) conference was held telephonically on February 8, 2022. Both
  9   plaintiff and defendant were represented by counsel. Pursuant to the Court’s order, Plaintiff’s
 10   initial disclosures were provided on February 17, 2022. Defendant’s initial disclosures were
 11   provided on February 23, 2022. This Joint Status Report and Discovery Plan pursuant to Fed. R.
 12   Civ. P. 26(f) will have been filed by February 24th, 2022.
 13              b. Discovery to be Conducted
 14           Plaintiff intends to serve discovery requests regarding, but not necessarily limited
 15   to: the development, sale, and marketing of Defendants’ Destiny 2 cheats; the identities of
 16   Defendant’s affiliates and conspirators; the sales and commercial data surrounding the operation
 17   of defendant’s illicit business; Copies of electronic mail messages between Defendants and their
 18   affiliates and developers; documents relating to earnings, payments, commissions or other
 19   consideration provided to any affiliate, prospective affiliates or terminated affiliate; documents
 20   relating to earnings, payments, commissions or other consideration provided to any cheat
 21   developer or contractor; documents relating to earnings, payments, commissions or other
 22   consideration provided to any marketing services; documents relating to the operation of
 23   Defendants cheat software; documents and communications related to the efforts taken by
 24   defendants to defeat or evade Plaintiff’s anti-cheating efforts; Defendants’ knowledge of, and
 25   disregard of, Plaintiff’s LSLA;
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  1          Defendants intends to serve discovery requests regarding; but not necessarily limited to:
  2   any documents in Plaintiff’s possession or fact witnesses that support any element of Plaintiff’s
  3   claims against the Defendants. This may include any information to demonstrate how Plaintiff
  4   can show any of the Defendants infringed Plaintiff’s copyrighted works, violated either 18
  5   U.S.C. § 1030(a)(5)(B) or § 1961(1), breached the Plaintiff’s LSLA, violated 17 U.S.C. §
  6   1201(a), or tortiously interfered with the Plaintiff’s LSLA. The Defendants anticipate that
  7   discovery will be conducted in phases. Initially, the Defendants will serve written discovery
  8   upon the Plaintiff in the form of requests for interrogatories, document production requests and
  9   admissions. Upon receipt of the responses to the written discovery requests, depositions of the
 10   Plaintiff’s fact witnesses will take place. And depending upon what is disclosed, the Defendants
 11   may issue subpoenas of other non-party fact witnesses.
 12              c. Limitations on Discovery
 13          The parties agree that no changes or additions should be made to the limitations to
 14   discovery imposed under the Federal Rules of Civil Procedure and the Local Civil Rules.
 15              d. Management of Discovery
 16          The parties agree that the Federal Rules of Civil Procedure and the Local Civil
 17   Rules shall be used to manage discovery so as to minimize expenses.
 18              e. Other Orders to Be Entered by the Court
 19      The parties agree that, at the time of the Joint Status Report and the Standard Protective
 20   Order, no other orders should be entered by the Court pursuant to Fed. R. Civ. P. 26(c) or Local
 21   Rules CR 16(b) and (c).
 22      6. Date of Completion of Discovery
 23      The parties agree that all fact discovery matters in this case will be completed by August
 24   31st, 2022, that expert discovery will be completed by December 15, 2022, and that dispositive
 25   motions, if any, will be filed by January 31, 2023.
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  1      The parties have agreed to the following internal deadlines, and have committed to work
  2   cooperatively to adjust them as may be necessary as discovery proceeds:
  3      Service of initial document requests and interrogatories: April 4, 2022
  4      Completion of document production: June 15, 2022
  5      Time to amend or add additional parties: July 1, 2022
  6      Identification of affirmative experts: August 15, 2022
  7      Identification of rebuttal experts: August 31, 2022
  8      Affirmative expert reports: September 30, 2022
  9      Rebuttal expert reports: October 31, 2022
 10      7. Consent to Magistrate Judge to Conduct All Proceedings
 11          Plaintiff consents to a Magistrate Judge for all pre-trial matters. Defendant consents to a
 12   magistrate judge as well.
 13      8. Bifurcation
 14          The parties agree that the liability issues and damages issues in this case should not be
 15   bifurcated.
 16      9. Pretrial Statements and Pretrial Orders
 17          The parties agree that the pretrial statements and a pretrial order pursuant to Local Rules
 18   CR 16(e), (h), (i), and (l), and 16.1 should be required in whole and not dispensed.
 19      10. Suggestions for Shortening and/or Simplifying the Case
 20          The parties do not have further suggestions for shortening or simplifying this case.
 21      11. Date for Trial
 22      The parties agree that this matter will be ready for trial the week of June 5, 2023.
 23      12. Jury or Non-Jury Trial
 24          Elite Defendants state that there should be a trial by jury with no limitations.
 25          Plaintiff contends that any jury trial should be limited to a jury’s determination of
 26   Defendant’s liability for civil penalties, see Tull v. U.S., 481 U.S. 412 (1987), and that the



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  1   amount of civil penalty, and determinations regarding liability for and the nature of injunctive
  2   relief are reserved to the Court.
  3      13. Numbers of Days For Trial
  4          Pending discovery, the parties believe that this matter should be able to be tried within 7
  5   court days.
  6      14. Names, Addresses, Email Addresses, and Telephone Numbers of All Trial Counsel
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  6         DATED this 23rd day of February, 2022.
  7

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